                                             Case 23-57716-jrs   Doc 132 FiledFORM   1
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                                                            INDIVIDUAL ESTATE PROPERTY
                                                                                Page 1 RECORD
                                                                                       of 4 AND REPORT
                                                                             ASSET CASES

Case No.:                       23-57716                                                                                        Trustee Name:                        Jason L. Pettie
Case Name:                      TIP TOP TUX, LLC                                                                                Date Filed (f) or Converted (c):     08/11/2023 (f)
For the Period Ending:          09/30/2023                                                                                      §341(a) Meeting Date:                09/13/2023
                                                                                                                                Claims Bar Date:                     12/05/2023
                                   1                                  2                      3                            4                        5                                     6

                       Asset Description                           Petition/        Estimated Net Value                Property              Sales/Funds           Asset Fully Administered (FA)/
                        (Scheduled and                           Unscheduled       (Value Determined by                Abandoned             Received by           Gross Value of Remaining Assets
                   Unscheduled (u) Property)                        Value                 Trustee,               OA =§ 554(a) abandon.        the Estate
                                                                                  Less Liens, Exemptions,
                                                                                     and Other Costs)

Ref. #
1        Union Bank & Trust Checking 3212                                 $0.00                         $0.00                                           $0.00                                        FA
2        Union Bank & Trust Checking 3245                                 $0.00                         $0.00                                           $0.00                                        FA
3        UMB Bank, N. A. Checking 0426                                    $0.00                         $0.00                                           $0.00                                        FA
4        Bank of the West Checking 1118                                   $0.00                         $0.00                                           $0.00                                        FA
5        US Bank Checking 4460                                            $0.00                         $0.00                                           $0.00                                        FA
6        Key Bank Checking 3088                                           $0.00                         $0.00                                           $0.00                                        FA
7        BMO Harris Bank N. A. Checking 6934                              $0.00                         $0.00                                           $0.00                                        FA
8        Key Bank Checking 3104                                           $0.00                         $0.00                                           $0.00                                        FA
9        The Huntington National Bank Checking 5265                       $0.00                         $0.00                                           $0.00                                        FA
10       The Huntington National Bank Checking 5278                       $0.00                         $0.00                                           $0.00                                        FA
11       Key Bank Checking 3112                                           $0.00                         $0.00                                           $0.00                                        FA
12       The Huntington National Bank Checking 7309                       $0.00                         $0.00                                           $0.00                                        FA
13       Key Bank Checking 3096                                           $0.00                         $0.00                                           $0.00                                        FA
14       The Huntington National Bank Checking 5252                       $0.00                         $0.00                                           $0.00                                        FA
15       JPMorgan Chase Bank Checking 8579                                $0.00                         $0.00                                           $0.00                                        FA
16       UMB Bank, N. A. Checking 8147                                    $0.00                         $0.00                                           $0.00                                        FA
17       The Huntington National Bank Checking 7312                       $0.00                         $0.00                                           $0.00                                        FA
18       The Huntington National Bank Checking 7325                       $0.00                         $0.00                                           $0.00                                        FA
19       Key Bank Checking 3138                                           $0.00                         $0.00                                           $0.00                                        FA
20       Wells Fargo Checking 2236                                        $0.00                         $0.00                                           $0.00                                        FA
21       Xedo, Inc. 100% None                                         Unknown                           $0.00                                           $0.00                                        FA
22       Tuxedo Holdings, Inc. 100% None                              Unknown                           $0.00                                           $0.00                                        FA
23       Suit Up, Inc. 100% None                                      Unknown                           $0.00                                           $0.00                                        FA
24       Retail and Rental Inventory $1,724,000.00                        $0.00                         $0.00                                           $0.00                                        FA
         Liquidation Value
25       Office Furniture                                           $647,021.14                   $647,021.14                                           $0.00                                $647,021.14
26       Leasehold Improvement                                    $3,882,254.62                  $3,882,254.62                                          $0.00                             $3,882,254.62
27       Various equipment, including cleaning                    $3,896,342.35                  $3,896,342.35                                          $0.00                             $3,896,342.35
28       See attached vehicle list. New Replacement                 $552,867.19                   $552,867.19                                           $0.00                                $552,867.19
         Value
29       see all leases on schedule G Lease                               $0.00                         $0.00                                           $0.00                                        FA
                                           Case 23-57716-jrs                 Doc 132 FiledFORM   1
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                                                                        INDIVIDUAL ESTATE PROPERTY
                                                                                            Page 2 RECORD
                                                                                                   of 4 AND REPORT
                                                                                         ASSET CASES

Case No.:                     23-57716                                                                                                                    Trustee Name:                        Jason L. Pettie
Case Name:                    TIP TOP TUX, LLC                                                                                                            Date Filed (f) or Converted (c):     08/11/2023 (f)
For the Period Ending:        09/30/2023                                                                                                                  §341(a) Meeting Date:                09/13/2023
                                                                                                                                                          Claims Bar Date:                     12/05/2023
                                 1                                                 2                               3                                4                        5                                     6

                      Asset Description                                       Petition/                  Estimated Net Value                   Property                 Sales/Funds          Asset Fully Administered (FA)/
                       (Scheduled and                                       Unscheduled                 (Value Determined by                   Abandoned                Received by          Gross Value of Remaining Assets
                  Unscheduled (u) Property)                                    Value                           Trustee,                  OA =§ 554(a) abandon.           the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

30      U.S. Trademark Registration No. 6,265,660 AR                                    $0.00                                 $0.00                                                $0.00                                       FA
        APPAREL RETURNS $0.00
31      Unfulfilled Orders $0.00                                                        $0.00                                 $0.00                                                $0.00                                       FA
32      see attached URL data sheet                                                     $0.00                                 $0.00                                                $0.00                                       FA
33      Confession Judgment Nature of claim Business              (u)                   $0.00                                 $0.00                                                $0.00                                       FA
        debt Amount requested $48,000.00
34      Cash on Hand                                              (u)             $4,000.00                               $4,000.00                                                $0.00                                $4,000.00
35      refund from 401(k) overpayment                            (u)               $380.67                                 $380.67                                                $0.00                                 $380.67
36      refund/overpayment from CT Corp                           (u)                  $78.97                                $78.97                                                $0.00                                   $78.97
Asset Notes:      refund for overpayment made by Debtor on 6/29/22
37     payment from Continental Casualty Co for                 (u)               $2,468.00                               $2,468.00                                                $0.00                                $2,468.00
       prepetition claim (Claim No. E2H29436)
Asset Notes:      date of loss 7/22/2023, at Iowa location
38     Insurance premium refund for policy cancelled            (u)                    $87.97                                $87.97                                                $0.00                                   $87.97
       post-petition
39     2018 Buick Regal TourX (VIN                              (u)              $18,500.00                              $12,500.00                                                $0.00                               $18,500.00
       W04GV8SX1J1135082)
Asset Notes:      held by former employ Tom Mullin
40     2018 Buick Regal TourX (VIN                              (u)              $14,300.00                              $14,300.00                                                $0.00                               $14,300.00
       W04GV8SX7J1136432)


TOTALS (Excluding unknown value)                                                                                                                                                                  Gross Value of Remaining Assets
                                                                             $9,018,300.91                             $9,012,300.91                                               $0.00                          $9,018,300.91



Major Activities affecting case closing:
 09/29/2023    Trustee has been reviewing debtor's leases and has begun rejecting leases and abandoning property. Auctioneer is preparing to sell personal property in various locations.


Initial Projected Date Of Final Report (TFR):          10/30/2024                            Current Projected Date Of Final Report (TFR):              10/30/2024               /s/ JASON L. PETTIE
                                                                                                                                                                                 JASON L. PETTIE
                                           Case 23-57716-jrs       Doc 132       Filed 01/12/24 Entered 01/12/24 16:10:15                              Desc
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        23-57716                                                                                       Trustee Name:                           Jason L. Pettie
Case Name:                      TIP TOP TUX, LLC                                                                               Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:          **-***6969                                                                                     Checking Acct #:                        ******0048
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:
For Period Beginning:           08/11/2023                                                                                     Blanket bond (per case limit):          $40,160,000.00
For Period Ending:              09/30/2023                                                                                     Separate bond (if applicable):


    1                2                          3                                                 4                                                    5                     6                7

Transaction      Check /                     Paid to/                     Description of Transaction                             Uniform          Deposit              Disbursement         Balance
   Date           Ref. #                  Received From                                                                         Tran Code           $                       $



                                                                                    TOTALS:                                                                 $0.00                   $0.00             $0.00
                                                                                        Less: Bank transfers/CDs                                            $0.00                   $0.00
                                                                                    Subtotal                                                                $0.00                   $0.00
                                                                                        Less: Payments to debtors                                           $0.00                   $0.00
                                                                                    Net                                                                     $0.00                   $0.00




                     For the period of 08/11/2023 to 09/30/2023                                               For the entire history of the account between 09/08/2023 to 9/30/2023

                     Total Compensable Receipts:                         $0.00                                Total Compensable Receipts:                                         $0.00
                     Total Non-Compensable Receipts:                     $0.00                                Total Non-Compensable Receipts:                                     $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                                Total Comp/Non Comp Receipts:                                       $0.00
                     Total Internal/Transfer Receipts:                   $0.00                                Total Internal/Transfer Receipts:                                   $0.00


                     Total Compensable Disbursements:                    $0.00                                Total Compensable Disbursements:                                   $0.00
                     Total Non-Compensable Disbursements:                $0.00                                Total Non-Compensable Disbursements:                               $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                                Total Comp/Non Comp Disbursements:                                 $0.00
                     Total Internal/Transfer Disbursements:              $0.00                                Total Internal/Transfer Disbursements:                             $0.00
                                           Case 23-57716-jrs       Doc 132       Filed 01/12/24 Entered 01/12/24 16:10:15                           Desc
                                                                                    FORM
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        23-57716                                                                                    Trustee Name:                          Jason L. Pettie
Case Name:                      TIP TOP TUX, LLC                                                                            Bank Name:                             Pinnacle Bank
Primary Taxpayer ID #:           **-***6969                                                                                 Checking Acct #:                       ******0048
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:
For Period Beginning:           08/11/2023                                                                                  Blanket bond (per case limit):         $40,160,000.00
For Period Ending:              09/30/2023                                                                                  Separate bond (if applicable):


    1                2                           3                                                 4                                                5                    6              7

Transaction      Check /                     Paid to/                      Description of Transaction                         Uniform           Deposit            Disbursement       Balance
   Date           Ref. #                  Received From                                                                      Tran Code            $                     $



                                                                                                                                                                              NET        ACCOUNT
                                                                                    TOTAL - ALL ACCOUNTS                               NET DEPOSITS                      DISBURSE       BALANCES

                                                                                                                                                        $0.00                 $0.00             $0.00




                     For the period of 08/11/2023 to 09/30/2023                                            For the entire history of the account between 09/08/2023 to 9/30/2023

                     Total Compensable Receipts:                         $0.00                             Total Compensable Receipts:                                       $0.00
                     Total Non-Compensable Receipts:                     $0.00                             Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                             Total Comp/Non Comp Receipts:                                     $0.00
                     Total Internal/Transfer Receipts:                   $0.00                             Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                    $0.00                             Total Compensable Disbursements:                                  $0.00
                     Total Non-Compensable Disbursements:                $0.00                             Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                             Total Comp/Non Comp Disbursements:                                $0.00
                     Total Internal/Transfer Disbursements:              $0.00                             Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                                             /s/ JASON L. PETTIE
                                                                                                                                             JASON L. PETTIE
